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                   UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF FLORIDA


                                    PROCEEDINGS UNDER CHAPTER 13

  IN RE:                            CASE NO.: 11-37753-BKC-RAM

  GILMA M TOBAR



            Debtor(s)
  ___________________________/

             OBJECTION TO CLAIM ON NEGATIVE NOTICE
             NOTICE OF TRUSTEE'S OBJECTION TO CLAIM
                 IMPORTANT NOTICE TO CREDITORS

     The Trustee appointed to administer and liquidate the assets of
this bankruptcy estate has filed an Objection to Claim in accordance
with Bankruptcy Rules 3001 and 3007, a copy of the objection is
attached. The Trustee has objected to certain of the claims filed in
this bankruptcy proceeding INCLUDING YOUR CLAIM. The Trustee seeks
either to disallow your claim in part or in its entirety,        to
disallow your claim as a secured claim, or to change the priority of
the claim so your claim will receive a lower priority than the
status you asserted in your proof of claim.
     YOU ARE DIRECTED TO CAREFULLY REVIEW THE OBJECTION TO CLAIM
STATED BELOW TO DETERMINE THE TRUSTEE'S RECOMMENDATION AS TO THE
DISPOSITION OF YOUR PARTICULAR CLAIM. If you disagree with the
Trustee's Objection to Claim, you must file a written response
explaining why your claim should be allowed as presently filed,
with the Clerk of the United States Bankruptcy Court,
51 SW First Avenue, 15th Floor    , Miami, Florida 33130, within
thirty (30) days from the date of this notice. A copy of your
objection MUST BE MAILED to the Trustee, Nancy K. Neidich, Esquire,
P.O. Box 279806, Miramar, Florida 33027.      YOU MUST INSERT THE
CASE NAME AND NUMBER ON ANY WRITTEN RESPONSE.
     If you fail to respond to this notice, the Trustee's
objection(s) may be sustained without further notice and hearing,
and your claim may be disallowed or allowed as modified in
accordance with the Trustee's recommendation relating to your claim.
     PLEASE GOVERN YOURSELF ACCORDINGLY.

        Pursuant to Bankruptcy Rule 3007, the Trustee objects to the

  following claims(s) filed in this case:
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Claim                         Amount
No:   Name of Claimant        of Claim   Recommended Dispostion
----- ---------------------- ----------- -------------------------
0018 ROBERT J. LEWISON, TRU 83,682.05     Claim was untimely filed
                                          (after the Claims Bar Date)
                                          and therefore should be
(Trustee's Claim # 0002)                  stricken and disallowed.


      I HEREBY CERTIFY that a true and correct copy of the fore-
going was mailed via postage pre-paid United States mail to the
following parties on Tue December 16, 2014 .



                                            /s
                                         _____________________________
                                          NANCY K. NEIDICH, ESQUIRE
                                          STANDING CHAPTER 13 TRUSTEE
                                          P.O. BOX 279806
                                          MIRAMAR, FL 33027-9806
                                          (954) 443-4402




DEBTOR'S ATTORNEY:
RICARDO A. RODRIGUEZ, ESQ.
900 W 49 STREET
SUITE 408
HIALEAH, FL33012


DEBTORS:

GILMA M TOBAR
9132 NW 190 TERRACE
MIAMI, FL 33018



CLAIMANT:
ROBERT J. LEWISON, TRUSTEE
20818 W DIXIE HWY
AVENTURA, FL 33180
